                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA,                         )
                                                   )
               Plaintiff,                          )
                                                   )
 v.                                                )    No.: 3:15-CR-56-TAV-HBG
                                                   )
 MAYRA EDITH BLAIR,                                )
                                                   )
               Defendant.                          )


                       MEMORANDUM OPINION AND ORDER

        This criminal action is before the Court on the defendant’s Motion for Review of

 Detention Order [Doc. 45]. The defendant has been charged with conspiracy to submit

 false claims, in the form of false and fraudulent income tax returns; conspiracy to commit

 mail fraud; conspiracy to commit wire fraud; and conspiracy to commit money

 laundering [Doc. 4]. Viewing the defendant as a serious flight risk and a danger to the

 community, the government moved the Court to detain her pending trial [Doc. 20].

 These issues were discussed during a four-hour hearing on March 20, 2015, before

 Magistrate Judge C. Clifford Shirley, Jr. [Doc. 21].         After hearing from witnesses,

 examining exhibits, and considering the attorney’s arguments, the magistrate judge

 determined that detention is warranted in this case [Id.].

        Although the magistrate judge did not find that the defendant poses a danger to

 any other person or the community, he found by a preponderance of the evidence that

 “[t]here is a serious risk that the defendant will not appear” as required [Doc. 24 p. 2–4].




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 After weighing the factors for and against detention, he concluded that “[t]he only

 ingredient missing from Defendant’s flight is the opportunity to do so” and “there are no

 conditions that the Court could place on the Defendant to ameliorate the risk of flight”

 [Id. at 3–4]. The defendant asked for a rehearing, which the magistrate judge denied

 [Doc. 43], and then asked this Court to review the detention order [Doc. 45]. The

 government has responded in opposition [Doc. 50], and the matter is now ripe for review.

 I.    Standard of Review

       Title 18, United States Code, Section 3145(b) provides that “[i]f a person is

 ordered detained by a magistrate judge, . . . the person may file, with the court having

 original jurisdiction over the offense, a motion for revocation or amendment of the

 order.” A district court reviews de novo a magistrate judge’s order of pretrial detention.

 United States v. Minnici, 128 F. App’x 827, 828 n.1 (2d Cir. 2005) (citing United States

 v. Leon, 766 F.2d 77, 80 (2d Cir. 1985)); United States v. Stanford, 341 F. App’x 979,

 981 (5th Cir. 2009) (stating that when the district court acts on a motion to revoke or

 amend a magistrate judge’s pretrial detention order, the district court acts de novo and

 must make an independent determination of the proper pretrial detention or conditions of

 release); United States v. Garcia, 445 F. App’x 105, 108 (10th Cir. 2011) (same); see

 also United States v. Watkins, Criminal Action No. 13-02-KSF, 2013 WL 614252, at *3

 (E.D. Ky. Feb. 19, 2013) (reviewing detention order de novo, stating that 18 U.S.C.

 § 3145 does not set out the standard of review, that the Sixth Circuit has not spoken

 directly on the issue, and that most district courts in the Sixth Circuit have applied de

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 novo review). The Court may receive additional evidence or simply rely upon the record

 of the earlier detention hearing. E.g., United States v. Martinez, No. 1:12-cr-210, 2012

 WL 4815018, at *1 (W.D. Mich. Oct. 10, 2012).

        Under 18 U.S.C. § 3142(e)(1), if “the judicial officer finds that no condition or

 combination of conditions will reasonably assure the appearance of the person as required

 and the safety of any other person and the community, such judicial officer shall order the

 detention of the person before trial.” The government must prove risk of flight by a

 preponderance of the evidence and must prove dangerousness to any other person or the

 community by clear and convincing evidence. United States v. Hinton, 113 F. App’x 76,

 77 (6th Cir. 2004). As the Sixth Circuit has stated, “the government’s ultimate burden is

 to prove that no conditions of release can assure that the defendant will appear and to

 assure the safety of the community.” United States v. Stone, 608 F.3d 939, 946 (6th Cir.

 2010). Because the magistrate judge rested his detention order on risk of flight and the

 government no longer requests detention based on dangerousness, risk of flight is the

 only issue discussed herein.1

        In determining whether the government has met its burden of persuasion, the

 Court must take into account the available information concerning, among other factors,

 the nature and circumstances of the offenses charged; the weight of the evidence against

 the person; and the person’s history and characteristics, including the person’s character,

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          The magistrate judge found, and the parties do not dispute, that the § 3142(e)
 presumption in favor of detention does not apply in this case. And having reviewed the record,
 the Court notes its agreement with the magistrate judge’s finding that the government has not
 shown by clear and convincing evidence that the defendant presents a danger.
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 family ties, employment, financial resources, length of residence in the community,

 community ties, past conduct, and criminal history. Id.; 18 U.S.C. § 3142(g). The

 weight of the evidence factor goes to the weight of the evidence of flight risk, not the

 weight of the evidence of the defendant’s guilt. See Stone, 608 F.3d at 948 (noting that

 “the weight of evidence against the person ‘deals with the factors to be considered in

 determining whether there are conditions which will assure the appearance of the accused

 and safety of the community’” (quoting United States v. Hazime, 762 F.2d 34, 37 (6th

 Cir. 1985))); United States v. Villegas, No. 3:11-CR-28, 2011 WL 1135018, at *8 (E.D.

 Tenn. Mar. 25, 2011) (“[T]his factor goes to how convincing the government’s

 arguments of dangerousness and risk of flight are.”). The Court will address the factors

 in turn.

 II.    The Nature and Circumstances of the Offenses Charged

        The defendant has been charged with conspiracy to submit false claims, in the

 form of false and fraudulent income tax returns; conspiracy to commit mail fraud;

 conspiracy to commit wire fraud; and conspiracy to commit money laundering [Doc. 4].

 The charges against the defendant involve the utilization of false identifications,

 including fake Guatemalan, Honduran, and Mexican driver licenses and birth certificates

 [Doc. 24 p. 3; Doc. 39 p. 8].

        According to the indictment, people who are not United States citizens or legal

 permanent residents may be entitled to certain tax refunds [Doc. 3 ¶¶ 12–13].        To

 fraudulently obtain such refunds, the defendant’s coconspirators allegedly used false

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 identification documents to obtain taxpayer identification numbers from the Internal

 Revenue Service [Id. ¶ 15]. The taxpayer identification numbers, false documents, and

 names were then provided to the defendant, and she and her employees allegedly

 prepared the fraudulent returns [Id. ¶ 16; Doc. 39 p. 8].

        At the detention hearing, an investigator testified that the defendant knew the

 identification documents were false and that the coconspirators who prepared the false

 documents are not in custody [Doc. 39 p. 8–9]. The government also stated that the

 defendant faces a potential sentence of eleven to fourteen years’ imprisonment [Id. at

 131]. Having reviewed the indictment and hearing transcript, including evidence that the

 defendant has contemplated flight to Mexico, as discussed below, the Court finds that the

 nature and circumstances of the charged offenses support pretrial detention in this case.

 III.   The Defendant’s Personal History and Characteristics

        The defendant relies on her personal history and characteristics, particularly her

 community ties [Doc. 45 p. 5–6]. The defendant has resided in the United States since

 she entered the country on a visa in 1996, and she became a naturalized citizen in 2012

 [Id. at 5]. She still has family and contacts in Mexico, however [Doc. 39 p. 48]. Her

 mother, for example, owns a home in Monterrey, Mexico [Doc. 45 p. 6]. The defendant

 also is married to and has been living for years with a Mexican national who is not

 legally entitled to live in the United States [Id. at 5, 5 n.1].

        According to the defendant, she “has resided here for quite some time,” has been

 consistently employed for at least the past ten years, and has no criminal history or

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 history of drug or alcohol abuse [Id. at 2, 5].       She owns a home and business in

 Knoxville, employs multiple individuals, and cares for her two minor children, over

 whom she has full custody and who allegedly have active academic and social lives [Id.

 at 2, 5–6]. Her husband also works locally and helps care for the children [Id. at 5].

        As for past conduct, the defendant highlights that she did not flee after search

 warrants were executed on her businesses in December 2014 [Id. at 6–7]. Despite

 becoming aware that she may face legal trouble, she remained in Knoxville and sought

 the advice of a lawyer and an accountant rather than flee to Mexico [Id.].

        The government responds by emphasizing other aspects of the defendant’s past

 conduct, in particular, two letters in the defendant’s handwriting to her employee Diane

 Ortiz [Doc. 50 p. 4–8]. Ms. Ortiz ran the Alcoa, Tennessee, location of the defendant’s

 business [Doc. 39 p. 9, 12–13]. She pled guilty to conspiracy to submit false claims in

 connection with the defendant’s business and is currently in custody [Doc. 50 p. 4 n.1].

 The magistrate judge found that the defendant’s letters “allud[e] to promises made by the

 Defendant to assist Ms. Ortiz in an attempt to flee the United States upon her release on

 bond and to fulfill Defendant’s promise to travel to Mexico and close her business in East

 Tennessee” [Doc. 24 p. 3]. Below is relevant text from the letters, which were translated

 from Spanish to English during the detention hearing.

        The first letter, dated January 23, 2015, states in relevant part, “You know I am

 going to Tepito, Mexico once this passes to keep my first promise -- one of my promises.




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 I’m also going to close Alcoa to keep my second one” [Doc. 39 p. 156–57]. The second

 letter, dated January 28, 2015, states in relevant part:

        I made my promises, and I’m going to fulfill them. And you will see how
        this is going to be fixed . . . . I do not know how things are going for me
        still, but believe me that while I am still outside I am going to help you. I
        hope they give you bond so that I can sign it and get you out. And if I have
        to go to Mexico, up until there we have a plan. But you are not alone. My
        mother is waiting in MTY.2 If we need to and I would sign 10K if I have to
        for a bond. I already have an attorney that after court is going to help you.

 [Id. at 141].3 The defendant argues that she was referring to an immigration bond, which

 she paid for a friend some years ago, and that her letter merely meant that Ms. Ortiz

 would have somewhere to stay if she were deported to Mexico [Doc. 45 p. 6].

        The Court cannot agree with the defendant’s interpretation. The plain language of

 the letters indicates contemplation of flight from authorities, and the defendant has not

 presented sufficient information to warrant a contrary finding. At the time she wrote the

 letters, the defendant was aware that she “may face legal troubles” and that Ms. Ortiz was

 facing criminal charges, not simply a deportation proceeding [See id. at 6–7]. The Court

 agrees with the magistrate judge’s findings that these letters appear to be “a plan to get

 somebody out on bond and fly them to Mexico, and if necessary, [the defendant] will go

 with them. It further indicates it’s a promise she has made to go to Mexico and to close
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         It appears undisputed that this abbreviation stands for Monterrey, Mexico [See Doc. 39
 p. 144]. MTY is the airport code for Monterrey, and the defendant has confirmed that her
 mother owns a home there [Doc. 45 p. 6].
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            Part of this letter was also translated at the hearing as, “I don’t know what’s going on
 with me yet, but believe me while I’m outside I’m going to help you. I hope you get a bond so I
 can sign and get you out if I have to and go to Mexico for you. Over there for you I will go, and
 we will have a plan. But you are not alone. My mother awaits for you in MTY, and if we have
 to, I will sign 10K. It will be for if I have to pay a bond” [Doc. 39 p. 143–45].
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 down her business” [Doc. 39 p. 162–63; see also id. at 163 (“It sounds like she’s already

 thought about [flight], planned it, and would be likely to do it if I let her.”)].

        Faced with these letters, the defendant proposes conditions of release that “should

 assure the Court that she will appear as required” [Doc. 45 p. 2]. The defendant and her

 mother, who is a permanent resident in Texas, both own their own homes [Id.]. The

 defendant represents that she and her mother are willing to pledge their homes and to

 submit to electronic monitoring and travel restrictions [Id.]. As explained below, the

 Court does not find that these proposed conditions of release, or any other combination of

 conditions, will reasonably assure the appearance of the defendant as required.

 IV.    The Weight of the Evidence

        The defendant claims that her close ties to the community provide a strong reason

 not to flee and that there is no evidence or suggestion, apart from the letters, that she

 would leave her family and business [Id. at 6]. The Court agrees that aspects of the

 defendant’s history and characteristics weigh in favor of release. As the magistrate judge

 noted, the defendant “has strong community ties, is employed, has family ties in East

 Tennessee, and her criminal record is minimal” [Doc. 24 p. 3].

        Notwithstanding the defendant’s arguments, the Court finds the weight of the

 evidence weighs in favor of a flight-risk finding. The defendant’s own words in her

 letters are likely sufficient, standing alone, to support the finding. As the magistrate

 judge reasoned, the defendant “is a risk of flight by virtue of her own letters of intent and

 planning” [Id. at 4].

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        But the letters are not the only evidence indicating a risk of flight. The defendant

 has significant contacts in a foreign country and significant financial resources. Her

 mother owns a home in Mexico, her husband is a Mexican national living in the United

 States illegally, and a check made out to the defendant’s business for over $27,000 was

 presented at the hearing. Regardless of whether the check represents legitimate earnings

 or criminal proceeds, the money could be used to assist the defendant escape prosecution.

        Having found that the defendant has contemplated flight and possesses significant

 ability to flee, and considering the nature and circumstances of the charged offenses, the

 Court is unable to conclude that any condition or combination of conditions will

 reasonably assure her appearance as required. See United States v. Abboud, 42 F. App’x

 784, 784 (6th Cir. 2002) (affirming district court’s detention order, reasoning that “[t]he

 motive for flight is strong, and the evidence suggests that travel was contemplated”).

 And review of the case law relied upon by the defendant does not disturb the Court’s

 analysis. In Zapien, the court noted that living in the country illegally, having fraudulent

 identification documents, and possessing a substantial amount of cash “are all obvious

 grounds for concern” but ultimately found, based on Zapien’s personal history and

 characteristics, that the following conditions would reasonably assure his appearance:

 posting a $100,000 bond, agreeing that he and his wife would forfeit automatically any

 interest in their residence, and living in home confinement and with electronic monitoring

 at all times. United States v. Zapien, No. 3:14-cr-00037-1, 2014 WL 1028435, at *4

 (M.D. Tenn. Mar. 17, 2014). Lacking evidence comparable to the letters written by the

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defendant herein, and given the fact-intensive nature of the detention inquiry, Zapien

does not persuade the Court to find in favor of release.4

V.      Conclusion

        Upon de novo review of the parties’ arguments, the § 3142(g) factors and potential

conditions of release, and the record in this case, the Court finds that pretrial detention is

warranted. The Court acknowledges that aspects of the defendant’s personal history and

characteristics weigh in favor of release, and that she would not pose danger to any

person or the community if released. However, the Court finds that the nature and

circumstances of the charged offenses in combination with other evidence, particularly

the two letters written by the defendant, warrant pretrial detention.

        In reaching this determination, the Court has considered, among other options, the

possibility of home confinement, electronic monitoring, travel restrictions, and requiring

the defendant to post a bond. Viewing all of the factors together, the Court concludes

that no conditions of release, including electronic monitoring of the defendant and her

mother and an agreement to forfeit their homes, will reasonably assure the defendant’s



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         The defendant also asks the Court to consider the collateral consequences of her pretrial
detention, particularly its effects on her children and business, given the “far extended” pretrial
detention period in this case [Doc. 45 p. 8]. This case has been deemed complex for speedy trial
purposes, and the trial date has been moved from May 26, 2015, to February 8, 2016 [Doc. 56].
As an initial matter, the Court has considered the defendant’s children and business in its flight-
risk analysis and notes that, to the extent the effects of detention do not affect her risk of flight,
those effects do not appear to be relevant to the detention inquiry. See 18 U.S.C. § 3142(g).
The Court understands the defendant’s concerns, however, and notes the May 15, 2015 order in
this case, in which the magistrate judge stated, “the Court will permit Defendant Blair to file a
motion to be severed from the trial of her codefendants by the new motion deadline should she
choose to do so” [Doc. 56 p. 9].
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appearance as required. Accordingly, the defendant’s Motion for Review of Detention

Order [Doc. 45] is hereby DENIED. The defendant shall remain detained pending trial.

      IT IS SO ORDERED.



                                s/ Thomas A. Varlan
                                CHIEF UNITED STATES DISTRICT JUDGE




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